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                                Nebraska Court of A ppeals A dvance Sheets
                                     25 Nebraska A ppellate R eports
                                                IN RE INTEREST OF IYANA P.
                                                   Cite as 25 Neb. App. 439



                                        In   re I nterest of Iyana P., a child
                                                under  18 years of age.
                                             State of Nebraska, appellee,
                                                v. Iyana P., appellant.
                                                        ___ N.W.2d ___

                                             Filed January 9, 2018.    No. A-17-494.

                1.	 Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                     nile cases de novo on the record and reaches its conclusions indepen-
                     dently of the juvenile court’s findings.
                 2.	 ____: ____. In reviewing questions of law arising under the Nebraska
                     Juvenile Code, an appellate court reaches conclusions independent of
                     the lower court’s rulings.
                3.	 Juvenile Courts: Due Process. Complying with the procedures under
                     Neb. Rev. Stat. § 43-286(5) (Reissue 2016) is important because in a
                     revocation proceeding, the juvenile is entitled to procedural protections,
                     including the right to confront and cross-examine adverse witnesses.
                4.	 Juvenile Courts: Probation and Parole. Under Neb. Rev. Stat.
                     § 43-286 (Reissue 2016), a juvenile court may not change a disposition
                     unless the juvenile has violated a term of probation or supervision or
                     the juvenile has violated an order of the court and the procedures estab-
                     lished in subsection (5)(b) have been satisfied.
                5.	 Juvenile Courts. An original dispositional order cannot be changed at
                     the whim of the juvenile court judge, but only as provided in Neb. Rev.
                     Stat. § 43-286(5)(b) (Reissue 2016).
                6.	 Juvenile Courts: Appeal and Error. Once a court has entered a dispo-
                     sition, it is plain error to change that disposition when the State has not
                     complied with the applicable statutory procedures.
                7.	 Juvenile Courts: Probation and Parole. Neb. Rev. Stat. § 43-286                     (Reissue 2016) does not allow the juvenile court to place a juvenile on
                     probation or exercise any of its other options for disposition and at the
                     same time continue the dispositional hearing.
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            Nebraska Court of A ppeals A dvance Sheets
                 25 Nebraska A ppellate R eports
                         IN RE INTEREST OF IYANA P.
                            Cite as 25 Neb. App. 439
  8.	 ____: ____. When the State contends that a juvenile placed on probation
      has violated a term of probation or an order of the court, it is required to
      file a motion to revoke or change the disposition.
 9.	 Juvenile Courts. A motion to revoke or change a disposition shall set
      forth specific factual allegations of the alleged violations, a copy must
      be served on all persons entitled to service, and the juvenile is entitled
      to a hearing to determine the validity of the allegations.

   Appeal from the Separate Juvenile Court of Douglas County:
Elizabeth Crnkovich, Judge. Reversed and remanded with
directions.
  Thomas C. Riley, Douglas County Public Defender, and
Ryan T. Locke for appellant.
   No appearance for appellee.
   Pirtle, R iedmann, and A rterburn, Judges.
   Pirtle, Judge.
                      INTRODUCTION
   Iyana P. appeals from an order of the separate juvenile
court of Douglas County which changed the terms of her
probation and a subsequent order which denied her motion
to vacate the order that changed her probation. Because we
determine that the juvenile court did not follow applicable
statutory procedures in changing the terms of her probation
and that it denied her due process, we reverse the juvenile
court’s order denying Iyana’s motion to vacate and remand the
matter to the juvenile court with directions to vacate its order
which changed Iyana’s probation and for further proceedings
consistent with this opinion.
                       BACKGROUND
   On August 9, 2016, a petition to adjudicate was filed in
the separate juvenile court of Douglas County alleging that
Iyana was within the meaning of Neb. Rev. Stat. § 43-247(Reissue 2016) in that she had committed third degree assault.
Following a detention hearing, the court entered an order on
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         Nebraska Court of A ppeals A dvance Sheets
              25 Nebraska A ppellate R eports
                   IN RE INTEREST OF IYANA P.
                      Cite as 25 Neb. App. 439
August 18 which ordered that Iyana be detained at the Douglas
County Youth Center until further order of the court.
   A detention review hearing was held on August 24, 2016,
and the juvenile court entered an order that Iyana be placed
in “shelter care,” as arranged by the Office of Probation
Administration, and be released from the Douglas County
Youth Center.
   On October 17, 2016, the court entered an order adjudi-
cating Iyana as a child within the meaning of § 43-247(1).
Following a disposition hearing, the court entered an order
on November 21 placing Iyana on probation for 6 months,
subject to certain terms and conditions of probation. It further
ordered that the probation “may automatically terminate on
May 22, 2017 unless sooner extended or revoked for cause by
the Court or unless a capias has been issued during the term of
this probation.”
   On November 23, 2016, Iyana was released from the
Douglas County Youth Center to the custody of her parent for
placement at home. On January 6, 2017, a juvenile warrant was
issued for Iyana because she was missing from a court-ordered
placement—the parental home.
   On January 11, 2017, following a detention hearing, the
court entered an order recalling the warrant and placing Iyana
on the “HOME Program,” an alternative to detention.
   On January 25, 2017, an order was entered placing Iyana
in “shelter care” and set a “Check Hearing” for February 6.
On January 30, the issue of Iyana’s placement at a shelter
was brought before the court. There was no objection made
to placement at a shelter due to concerns for her well-being
if she was to remain in the home of her parent. An order was
entered placing Iyana at “Youth Links” shelter and the “HOME
Program” was relieved of further responsibility.
   A “Check Hearing” was held on February 6, 2017. The
juvenile court ordered the Office of Probation Administration
to seek foster care placement for Iyana and to make applica-
tion for group home placement.
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         Nebraska Court of A ppeals A dvance Sheets
              25 Nebraska A ppellate R eports
                   IN RE INTEREST OF IYANA P.
                      Cite as 25 Neb. App. 439
   On March 21, 2017, another “Check Hearing” was held
regarding the placement of Iyana. On April 25, the juvenile
court entered an order placing Iyana at “Uta Halee” group
home and further ordered that “[she] shall remain under the
supervision of a probation officer, for an open ended period
of time.”
   On April 27, 2017, Iyana filed a motion to vacate the court’s
April 25 order, alleging that the statutory procedures to change
a juvenile’s dispositional orders under Neb. Rev. Stat. § 43-286(Reissue 2016) were not followed. The juvenile court denied
the motion to vacate.
                 ASSIGNMENTS OF ERROR
   Iyana assigns that the juvenile court erred by extending her
probation without a hearing, thereby violating her due process
rights, and by denying her motion to vacate.
                  STANDARD OF REVIEW
   [1,2] An appellate court reviews juvenile cases de novo on
the record and reaches its conclusions independently of the
juvenile court’s findings. In re Interest of Candice H., 284
Neb. 935, 824 N.W.2d 34 (2012). In reviewing questions of
law arising under the Nebraska Juvenile Code, an appellate
court reaches conclusions independent of the lower court’s rul-
ings. Id.                           ANALYSIS
   Iyana assigns that the juvenile court violated her due proc­
ess rights when it extended her probation without a hearing.
More specifically, she contends that the juvenile court did not
follow the procedures established under § 43-286 in changing
her original disposition ordered by the court.
   [3] Section 43-286 sets out a juvenile court’s disposi-
tion options for juveniles who have been adjudicated under
§ 43-247(1), (2), or (4). The procedures for changing an exist-
ing disposition are set forth in § 43-286(5). Complying with
the procedures under § 43-286(5) is important because in a
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          Nebraska Court of A ppeals A dvance Sheets
               25 Nebraska A ppellate R eports
                    IN RE INTEREST OF IYANA P.
                       Cite as 25 Neb. App. 439
revocation proceeding, the juvenile is entitled to procedural
protections, including the right to confront and cross-examine
adverse witnesses. See In re Interest of Alan L., 294 Neb. 261,
882 N.W.2d 682 (2016).
   Section 43-286(5)(b) governs the procedure for revoking
a juvenile’s probation or court supervision and changing the
disposition:
     When a juvenile is placed on probation or under the
     supervision of the court for conduct under subdivision
     (1), (2), (3)(b), or (4) of section 43-247 and it is alleged
     that the juvenile has violated a term of probation or super-
     vision or that the juvenile has violated an order of the
     court, a motion to revoke probation or supervision or to
     change the disposition may be filed and proceedings held
     as follows:
        (i) The motion shall set forth specific factual allega-
     tions of the alleged violations and a copy of such motion
     shall be served on all persons required to be served by
     sections 43-262 to 43-267;
        (ii) The juvenile shall be entitled to a hearing before
     the court to determine the validity of the allegations. . . .
        (iii) The hearing shall be conducted in an informal
     manner . . . .
        (iv) The juvenile shall be given a preliminary hearing
     in all cases when the juvenile is confined, detained, or
     otherwise significantly deprived of his or her liberty as a
     result of his or her alleged violation of probation, supervi-
     sion, or court order. . . .
        (v) If the juvenile is found by the court to have vio-
     lated the terms of his or her probation or supervision or
     an order of the court, the court may modify the terms and
     conditions of the probation, supervision, or other court
     order, extend the period of probation, supervision, or
     other court order, or enter any order of disposition that
     could have been made at the time the original order was
     entered; and
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          Nebraska Court of A ppeals A dvance Sheets
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                    IN RE INTEREST OF IYANA P.
                       Cite as 25 Neb. App. 439
         (vi) In cases when the court revokes probation, super-
      vision, or other court order, it shall enter a written state-
      ment as to the evidence relied on and the reasons for
      revocation.
   [4,5] Under § 43-286, a juvenile court may not change a
disposition unless the juvenile has violated a term of probation
or supervision or the juvenile has violated an order of the court
and the procedures established in subsection (5)(b) have been
satisfied. See In re Interest of Torrey B., 6 Neb. App. 658, 577
N.W.2d 310 (1998). In other words, the original dispositional
order cannot be changed at the whim of the juvenile court
judge, but only as provided in subsection (5)(b). In re Interest
of Torrey B., supra.   [6] The Nebraska Supreme Court and this court have both
held that once a court has entered a disposition, it is plain error
to change that disposition when the State has not complied
with the applicable statutory procedures. See, In re Interest
of Markice M., 275 Neb. 908, 750 N.W.2d 345 (2008); In re
Interest of Torrey B., supra.   [7] In In re Interest of Torrey B., supra, the juvenile was
adjudicated under § 43-247(1) and the court placed the juve-
nile on indefinite probation with placement in the parental
home. The court subsequently committed the juvenile to the
Office of Juvenile Services (OJS) for placement at a youth
rehabilitation and treatment center. The juvenile court did this
without any pleading, motion, or notice by the State, claim-
ing the juvenile had violated the terms of his probation. On
appeal, this court stated that the juvenile court apparently
assumed that by putting a provision in the original disposi-
tional order continuing the matter, it could change the order
without pleadings, notice, or evidence. We held that § 43-286
does not allow the juvenile court to place a juvenile on proba-
tion or exercise any of its other options for disposition and at
the same time continue the dispositional hearing. In re Interest
of Torrey B., supra. We further held that the juvenile court
committed plain error in committing the juvenile to OJS, as
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         Nebraska Court of A ppeals A dvance Sheets
              25 Nebraska A ppellate R eports
                   IN RE INTEREST OF IYANA P.
                      Cite as 25 Neb. App. 439
it had the effect of revoking the juvenile’s probation without
following applicable statutory procedure. Id.
   Similarly, in In re Interest of Markice M., supra, the juve-
nile argued that the court erred in changing the terms of his
probation from inhome placement to group home placement
without following the procedures in § 43-286(4), now found in
§ 43-286(5). The juvenile was adjudicated under § 43-247(1),
and the juvenile court subsequently entered a dispositional
order placing him on probation, but allowing him to remain
in his home. A few months later, the juvenile court conducted
an “‘evaluation hearing’” at which time the probation officer
informed the court that she was concerned about the juve-
nile’s safety in the home and recommended that he be placed
in a group home. In re Interest of Markice M., 275 Neb. at
910, 750 N.W.2d at 347. The juvenile court entered an order
requiring the probation officer to make application for group
home placement. The State argued that the hearing which led
to the change was a “‘continued dispositional hearing’” and
that the order requiring group home placement was part of the
original dispositional phase, not a subsequent modification.
Id. at 912, 750 N.W.2d at 349.
   [8,9] The Nebraska Supreme Court disagreed with the
State’s position and reversed the juvenile court’s order requir-
ing the probation officer to make application for group home
placement. In doing so, the court agreed with our holding in
In re Interest of Torrey B., 6 Neb. App. 658, 577 N.W.2d 310(1998), that § 43-286 does not allow the juvenile court to place
a juvenile on probation or exercise any of its other options for
disposition, and at the same time continue the dispositional
hearing. It held that the disposition was complete upon entry
of the court’s order placing the juvenile on probation and per-
mitting him to remain in his home. In re Interest of Markice
M., 275 Neb. 908, 750 N.W.2d 345 (2008). The court further
held that the subsequent order requiring group home place-
ment constituted a change in the terms of probation specified
in the dispositional order. Id. It stated that when the State
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          Nebraska Court of A ppeals A dvance Sheets
               25 Nebraska A ppellate R eports
                    IN RE INTEREST OF IYANA P.
                       Cite as 25 Neb. App. 439
contends that a juvenile placed on probation has violated a
term of probation or an order of the court, it is required to file
a motion to revoke or change the disposition. Id., citing In re
Interest of Torrey B., supra; § 43-286. The motion “‘shall set
forth specific factual allegations of the alleged violations,’” a
copy must be served on all persons entitled to service, and the
juvenile is entitled to a hearing to determine the validity of the
allegations. In re Interest of Markice M., 275 Neb. at 913, 750
N.W.2d at 349, citing § 43-286.
   The In re Interest of Markice M. court concluded that the
order requiring the juvenile to be placed in a group home had
the effect of changing a term of his previously ordered pro-
bation without following the applicable statutory procedure.
The court ordered that the order changing the disposition be
vacated and that the matter be remanded to the juvenile court
for further proceedings.
   More recently, in In re Interest of Alan L., 294 Neb. 261,
882 N.W.2d 682 (2016), the Nebraska Supreme Court did not
reverse the order changing the disposition even though the pro-
cedures did not comply with § 43-286(5). Rather, it concluded
that despite procedural flaws, the juvenile was not denied due
process. The juvenile was adjudicated under § 43-247(1), and
he was subsequently placed on probation and allowed to live
with his parent. After the juvenile was placed on probation,
the State filed three different commitment motions related
to the juvenile’s noncooperation with his probation terms.
But the State never filed a motion to revoke his probation.
Following a hearing on a second amended motion to commit
the juvenile to OJS for placement at a youth rehabilitation and
treatment center, the court found that allegations for commit-
ment were true, placed the juvenile on intensive supervision
probation, and committed him to OJS for placement at the
treatment center.
   On appeal, among other arguments, the juvenile claimed
that the commitment hearing deprived him of his due process
right to confront and cross-examine his accusers. He argued
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         Nebraska Court of A ppeals A dvance Sheets
              25 Nebraska A ppellate R eports
                   IN RE INTEREST OF IYANA P.
                      Cite as 25 Neb. App. 439
that if the State had filed a motion to revoke his probation,
he would have had a statutory right to confront and cross-­
examine witnesses against him.
   The In re Interest of Alan L. court found that because the
motion rested on probation violations, the State should have
filed a motion to revoke probation to support its requested
change in the disposition. It recognized its previous holding
in In re Interest of Markice M., 275 Neb. 908, 912-13, 750
N.W.2d 345, 349 (2008): “When the State contends that a
juvenile placed on probation has violated a term of proba-
tion or an order of the court, it is required to file a motion to
revoke or change the disposition.” The In re Interest of Alan
L. court found that although the State did not comply with its
previous holding, the State’s motion had put the juvenile on
notice that it was seeking a commitment to OJS because of his
probation violations. The Supreme Court further noted that the
juvenile did not contend he did not have notice of the claim
and that he had not shown the State denied him any protec-
tions he would have received had the State filed a revocation
motion. Further, at the commitment hearing, the juvenile was
represented by counsel and not precluded from presenting
evidence. The Supreme Court found that despite procedural
flaws, the juvenile court’s procedures did not deny the juve-
nile an opportunity to challenge the State’s recommendations
for the commitment, so he was not denied due process. In re
Interest of Alan L., supra.   The present case is similar to all three cases discussed above
in that the State did not follow the statutory procedures in
§ 43-286(5). Iyana’s dispositional order placed her on proba-
tion for 6 months. The juvenile court subsequently ordered
that “[she] shall remain under the supervision of a probation
officer, for an open ended period of time.” The subsequent
order constituted a change in the terms of Iyana’s probation,
and the court made this change without following the statu-
tory procedures under § 43-286 to change a juvenile’s disposi-
tional orders.
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                   IN RE INTEREST OF IYANA P.
                      Cite as 25 Neb. App. 439
   We further determine that, unlike the juvenile in In re
Interest of Alan L., 294 Neb. 261, 882 N.W.2d 682 (2016),
Iyana was denied due process. Although Iyana had notice
that her probation would not automatically terminate on May
22, 2017, if a capias was issued during the term of proba-
tion, and one was issued on January 6, 2017, the State did
not file a motion to revoke her probation and there was no
hearing to determine if Iyana violated a term of her probation.
Because there was no hearing, Iyana could not confront or
cross-­examine witnesses against her. Therefore, in addition to
the statutory procedural flaws, the juvenile court’s procedures
denied Iyana an opportunity to challenge a change in the terms
of her probation and she was denied due process.
   We conclude that the juvenile court erred in extending
Iyana’s probation indefinitely, as it had the effect of revoking
her probation without following the applicable statutory pro-
cedures under § 43-286. The juvenile court’s procedures also
denied Iyana due process. Therefore, the trial court erred in
denying Iyana’s motion to vacate.
                        CONCLUSION
   We conclude that the juvenile court erred in changing
the terms of Iyana’s probation without following the statu-
tory procedures set forth in § 43-286 and in denying her due
process. Accordingly, we reverse the juvenile court’s order
denying Iyana’s motion to vacate and remand the matter to
the juvenile court with directions to vacate its order entered
April 25, 2017, and for further proceedings consistent with
this opinion.
                    R eversed and remanded with directions.
